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 09-50026-mg
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 09-50026-mg
Case            Doc 13025-3 Document
     2:02-cv-00135-KSH-PS    Filed 12/16/14   Entered
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 09-50026-mg
Case            Doc 13025-3 Document
     2:02-cv-00135-KSH-PS    Filed 12/16/14   Entered
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 09-50026-mg
Case            Doc 13025-3 Document
     2:02-cv-00135-KSH-PS    Filed 12/16/14   Entered
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 09-50026-mg
Case            Doc 13025-3 Document
     2:02-cv-00135-KSH-PS    Filed 12/16/14   Entered
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 09-50026-mg
Case            Doc 13025-3 Document
     2:02-cv-00135-KSH-PS    Filed 12/16/14   Entered
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 09-50026-mg
Case            Doc 13025-3 Document
     2:02-cv-00135-KSH-PS    Filed 12/16/14   Entered
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 09-50026-mg
Case            Doc 13025-3 Document
     2:02-cv-00135-KSH-PS    Filed 12/16/14   Entered
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 09-50026-mg
Case            Doc 13025-3 Document
     2:02-cv-00135-KSH-PS    Filed 12/16/14   Entered
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 09-50026-mg
Case            Doc 13025-3 Document
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 09-50026-mg
Case            Doc 13025-3 Document
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 09-50026-mg
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 09-50026-mg
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 09-50026-mg
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 09-50026-mg
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 09-50026-mg
Case            Doc 13025-3 Document
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 09-50026-mg
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 09-50026-mg
Case            Doc 13025-3 Document
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 09-50026-mg
Case            Doc 13025-3 Document
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 09-50026-mg
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Case            Doc 13025-3 Document
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case            Doc 13025-3 Document
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Case            Doc 13025-3 Document
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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  09-50026-mg
Case            Doc 13025-3 Document
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  09-50026-mg
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  09-50026-mg
Case             Doc 13025-3Document
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  09-50026-mg
Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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  09-50026-mg
Case             Doc 13025-3Document
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  09-50026-mg
Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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  09-50026-mg
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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  09-50026-mg
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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  09-50026-mg
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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Case             Doc 13025-3Document
     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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     2:02-cv-00135-KSH-PS     Filed 12/16/14   Entered
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